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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA

                                   )
UNITED STATES OF AMERICA           )       Crim. No. 21-228 (CRC)
                                   )
           v.                      )
                                   )
ERIC BARBER                        )
                                   )
                                   )



                MEMORANDUM IN AID OF SENTENCING




                Where all think alike, no one thinks very much.

                              Walter Lippmann




                                       1
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      On January 6th, Eric Barber regretted his decision to go to the U.S. Capitol.

He disavowed his conduct from that day forward. “I don’t think it should have been

done” is what he told news and media outlets on January 6th. Out of fear of further

incriminating himself, he denied being inside the building, but the reality of what

he had done became very clear. “I am prepared to accept the [] consequences of my

mistake and accept responsibility for my actions,” he explained to the local news

station later that day.




      Two months later, Mr. Barber met with the FBI and explained that he

regretted his decision to enter the Capitol. Since then, he has waited patiently as

he was guided through the legal process to arrive at sentencing. He did not

challenge the evidence in his case or take his case to trial. He also welcomed the

opportunity to speak with the House Select Committee to discuss the circumstances

that led to January 6th.
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      Mr. Barber has not wavered from his denouncement of his actions, even when

it was tempting to promote his actions. As a former Council Member in a

conservative part of West Virginia, his support of Former President Trump drew

attention and praise. During January 6th, he was seen as “a great patriot.” Despite

this, Mr. Barber has continued to state that his actions were wrong.

      Mr. Barber had no plan, intention, or thought to take over the government on

January 6th. He was not part of a militia group seeking to overthrow the

government. He did not encourage violence. He followed commands of law

enforcement on January 6th and cooperated with law enforcement thereafter, and

has demonstrated remorse. For these reasons, no further incarceration should be

imposed. Based on the nature and circumstances of the offense, his background,

acceptance of responsibility, and the relevant sentencing factors pursuant to 18

U.S.C. § 3553(a), the defense respectfully requests a sentence of time served or

probation, either of which would be a sentence not greater than necessary to

address his conduct in this case.




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                         TIMELINE OF JANUARY 6th EVENTS

         The timeline of January 6th is well-known. Approximately 30,000 people

were expected to attend. 1 Around 6 a.m that day, numerous Trump supporters

headed towards the rally at the Ellipse and “[m]any began gathering the night

before.”   2   The vitriol and antagonistic speech spread over the crowd of thousands.

Prominent Trump supporters encouraged the crowd to march to the Ellipse and

fight:

    11 a.m.                High-profile figures of the Republican Party spoke directing
                           the Trump supporters:
                              • Representative Mo Brooks (R-Ala.) urged “American
                                 patriots” to “start taking down names and
                                 kicking ass.” 3
                              • Katrina Pierson stated, “Americans will stand up for
                                 themselves and protect their rights, and they will
                                 demand that the politicians that we elect will uphold
                                 those rights, or we will go after them.” 4
                              • Amy Kremer, one of the organizers of the “Save
                                 America” rally and moderator of the “Stop the Steal”
                                 Facebook group, echoed others’ calls for Republican


1
       Though President Trump boasted that the rally numbered “hundreds of thousands of
people”, the rally’s organizers projected just 30,000 participants. See Andrew Beaujon, Here’s
What We Know About the Pro-Trump Rallies That Have Permits, The Washingtonian (Jan. 5,
2021), available at https://www.washingtonian.com/2021/01/05/heres-what-we-know-about-the-
pro-trump-rallies-that-have-permits/.
2
        George Petras, Janet Loehrke, Ramon Padilla, Javier Zarracina and Jennifer Borresen,
Timeline: How the storming of the U.S. Capitol unfolded on Jan. 6, USA Today, Updated Feb. 9,
2021, available at https://www.usatoday.com/in-depth/news/2021/01/06/dc-protests-capitol-riot-
trump-supporters-electoral-college-stolen-election/6568305002/ (last accessed on Feb. 28, 2022).
3
        See Matthew Choi, Trump is on trial for inciting an insurrection. What about the 12
people who spoke before him?, Politico (Feb. 10, 2021), available at
https://www.politico.com/news/2021/02/10/trump-impeachement-stop-the-steal-speakers-
467554 (emphasis added).
4
         Id. (emphasis added).


                                               4
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                                     lawmakers to challenge the election result and
                                     “punch back from Donald Trump.” 5
                                 •   Lara and Eric Trump, the president’s daughter-in-
                                     law and son, encouraged the attendees to march on
                                     the Capitol to “stand up for this country and
                                     stand up for what’s right.” 6
                                 •   Donald Trump, Jr. narrated that “You have an
                                     opportunity today: You can be a hero, or you can
                                     be a zero. And the choice is yours but we are all
                                     watching.” 7
                                 •   Rudy Giuliani, President Trump’s personal attorney
                                     also spoke, making his now-infamous call for “trial
                                     by combat.” 8

         An hour later, former President Trump took the stage and implored

attendees to “fight” for him, notably stating:

    12 p.m.                          We will not let them silence your voices. . . we’re
                                     going to walk down to the Capitol, and we’re
                                     going to cheer on our brave senators and
                                     congressmen and women, and we’re probably not
                                     going to be cheering so much for some of them. . . [if
                                     the election is certified], you will have an illegitimate
                                     president. That’s what you’ll have. And we can’t let
                                     that happen. 9

    1:10 p.m.                        And we fight. We fight like hell. And if you don’t
                                     fight like hell, you’re not going to have a country
                                     anymore. . . So we’re going to, we’re going to walk
                                     down Pennsylvania Avenue. I love Pennsylvania


5
         Id. (emphasis added).
6
         Id. (emphasis added).
7
         Id. (emphasis added).
8
         Id. (emphasis added).
9
       See Brian Naylor, Read Trump's Jan. 6 Speech, A Key Part Of Impeachment Trial, NPR
(Feb. 10, 2021), available at https://www.npr.org/2021/02/10/966396848/read-trumps-jan-6-
speech-a-key-part-of-impeachment-trial.


                                                  5
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                                 Avenue. And we’re going to the Capitol, and we’re
                                 going to try and give. 10

       By this time, his supporters started heading towards the Capitol and started

fighting with the police.

 1:10 p.m.                  Supporters “begin grappling with police on the Capitol
                            steps.” 11




 1:30 p.m.                  After Trump’s speech, “supporters being marching toward
                            the U.S. Capitol.” 12




10
        See Brian Naylor, Read Trump's Jan. 6 Speech, A Key Part Of Impeachment Trial, NPR
(Feb. 10, 2021), available at https://www.npr.org/2021/02/10/966396848/read-trumps-jan-6-
speech-a-key-part-of-impeachment-trial; see also Petras, Timeline, footnote 2 supra,
https://www.usatoday.com/in-depth/news/2021/01/06/dc-protests-capitol-riot-trump-supporters-
electoral-college-stolen-election/6568305002/ (last accessed on Feb. 28, 2022) (emphasis
added).
11
        Petras, Timeline, footnote 2 supra.
12
        Shelly Tan, Youjin Shin and Danielle Rindler, How one of America’s ugliest days
unraveled inside and outside the Capitol, The Washington Post,
https://www.washingtonpost.com/nation/interactive/2021/capitol-insurrection-visual-timeline/
(last accessed on Feb. 28, 2022).
                                              6
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 2:11 p.m.                Photographs indicate that supporters moved past the
                          police lines on the west side of the Capitol and others scale
                          the walls. 13
                             • Eric Barber did not breach the perimeter or
                                 fight officers to get past the perimeter lines.




 2:26 p.m.                Eric Barber enters the Capitol through the Senate Wing
                          windows, near the doors. At least 100, people entered
                          through the doors and windows for at least 10 minutes by
                          this time.




13
      Petras, Timeline, footnote 2 supra.
                                            7
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2:29 p.m.           Mr. Barber is seen on CCTV footage with his helmet off
                    and looking at his phone in the Rotunda. He continues to
                    walk towards the end of the hallway and takes pictures
                    and live streams.
                    Mr. Barber will next proceed to Statuary Hall.




2:30 p.m.           Adam Johnson is seen carrying Nancy Pelosi’s lectern in
                    the Rotunda.




                                    8
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 2:31 p.m. 14              Prior to Mr. Barber entering Statuary Hall, another
                           individual looks through items at the CNN camera station.




14
       The Court should note that the CCTV footage for Statuary Hall and other sections of the
Capitol have time stamps reflecting 1900 hours, which is 5 hours different from the Senate Wing
door time stamps of 1400 hours. It is unclear why the video footage has different time stamps.
To be clear, Mr. Barber was not in the Capitol for 5 hours. See ECF No. 36, p. 5.
                                               9
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2:31 p.m.           Mr. Barber walks through Statuary Hall and is about to
                    exit.




Closer view




                                    10
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                    Mr. Barber is seen at the CNN camera station trying to
2:31 p.m.           plug in his phone with different devices and returning
                    items that are not connecting to his phone.




Closer view below




                                    11
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2:31 p.m.           Mr. Barber eventually finds a compatible charger and
                    takes it with him.




                                    12
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 Approximately            Mr. Barber and others are captured on a Jayden X video.
 2:37 pm 15               At minute 31:17, someone closer to the doors in the video,
                          states, “the police are leaving.”
 Minute 31:17




                          Five seconds later, a man wearing a yellow flag around his
 Minute 31:22             neck, to Mr. Barber’s right, repeated that “the police are
                          leaving.”




15
       The video footage from the Jayden X video does not contain a time stamp. This
approximation is based on the CCTV footage showing Mr. Barber at earlier times.
                                             13
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                    After hearing, “the police are leaving,” Mr. Barber asked
Minute 31:26        the question, “They’re giving us the Capitol?” The man
                    to his right nods his head “yes.”




2:56 p.m.           At some point, Mr. Barber and several others walk to the
                    Speaker’s officer and hallway.

                    CCTV footage shows that he and several people walk
                    through the connecting hallways and return to the
                    hallways, more than once, appearing to be looking for the
                    exit. This occurred even after officers direct them to exit.

2:58 p.m.           Mr. Barber appears to have been lost and was directed by
                    another officer in a separate direction.




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                              15
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                              16
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 2:58 p.m.               Mr. Barber explained to the FBI after the incident that he
                         did not know where he was in the building. See Interview
                         of Eric Barber, Tr. at 13:19-25 – 14:1-6, March 3, 2021




                               LEGAL PRINCIPLES

      Parading, Demonstrating, or Picketing in a Capitol Building, in violation of

40 U.S.C. § 5104(e)(2)(G), is a class B misdemeanor or “petty offense,” as defined by

18 U.S.C. § 3559(a)(7), because it carries a maximum incarceration period of six

months or less. Similarly, Theft II, in violation of 22 D.C. Code § 3212, is a

misdemeanor, which carries a maximum period of 180 days.




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       The United States Sentencing Guidelines do not apply to class B

misdemeanors. See U.S.S.G. §1B1.9. In addition, pursuant to 18 U.S.C. §

3583(b)(3), the Court is disallowed from imposing a term of supervised release for a

petty offense, and if it imposes active, continuous imprisonment. 18 U.S.C. § 3551

seemingly does not support an additional period of probation to follow. See United

States v. Torrens et. al., Crim. No. 21-cr-204 (BAH), ECF No. 110, 113, & 125.

       Since the Guidelines do not apply, the Court is directed to look to 18 U.S.C. §

3553(a) to impose a sentence that is “sufficient, but not greater than necessary, to

comply with the purposes [of sentencing].” The factors enumerated in 18 U.S.C. §

3553(a)(1) include “the nature and circumstances of the offense and the history and

characteristics of the defendant.” Additionally, the Court should determine the

“need” for the sentence, by considering if and how a term of incarceration would

“reflect the seriousness of the offense, promote respect for the law, and provide just

punishment for the offense.” Id. at (2)(A). Moreover, the Court should consider how

a sentence would “afford adequate deterrence to criminal conduct,” “protect the

public from further crimes of the defendant,” and “provide the defendant with

needed educational or vocational training, medical care, or other correctional

treatment in the most effective manner.” Id. at 2 (B-D). Further still, the Court

must be mindful of “the kinds of sentences available,” should consider “the need to

avoid unwarranted sentencing disparities among defendants with similar records

who have been found guilty of similar conduct,” and should consider the “need to

provide restitution to any victims of the offense.” Id. at (3), (6), & (7).



                                            18
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                                       ARGUMENT

       Mr. Barber is a 43-year-old father and former City Council member. While

the nature and circumstances of the January 6th events were indeed serious, his

particular actions that day, paired with his individual history and characteristics do

not lend itself to a sentence of incarceration. Rather, a sentence of probation and

restitution would meet the purposes of sentencing, without being overly punitive.

         I.   Nature and Circumstances of Mr. Barber’s Offense

       The events of January 6th are seared into the nation’s memory. That day and

the days after resulted in lost lives and over 1 million dollars in property damage.

In addition, it caused trauma to politicians and staffers and their family members

who were present there and who watched from a far.

       Mr. Barber understands and would never minimize the impact of the event

on the nation. However, he was not the cause of January 6th, nor was he in the

category of people who caused physical harm to others or damage to the Capitol

buildings. He entered the building, but his unlawful entrance cannot, and should

not, be conflated with the many other, wider, failures that occurred that day.

Various factors led to the Capitol being breached, including “paralysis” “exacerbated

by the patchwork nature of security across a city where responsibilities are split

between local and federal authorities” and “driven by unique breakdowns inside

each law enforcement agency.” 16 To characterize Mr. Barber as the proximate cause


16
        See Jacqueline Alemany, et. al., Before, During, and After Bloodshed, The Washington
Post (Oct. 31, 2021), available at
https://www.washingtonpost.com/politics/interactive/2021/what-happened-trump-jan-6-
insurrection/?itid=hp-top-table-main.
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of the January 6th event fails to acknowledge these other failures, and places an

unjust blame on one non-violent, non-destructive individual. The American system

of justice, and specifically 18 U.S.C. § 3553(a), directs this Honorable Court to look

at every defendant and every defendant’s actions individually. See Kimbrough v.

United States, 552 U.S. 85, 90 (2007); Gall v. United States, 552 U.S. 38 (2007).

      Mr. Barber traveled alone to the Capitol. He attended the rally alone and

found commonality with several others in attendance. He regretfully went along

with the crowd. He was arrested on March 3, 2021 and spoke with the FBI without

counsel. He explained to the FBI agents after the incident and to the House Select

Committee that the tenor of the crowd was initially nonviolent from the perspective

he had. An officer told him there was “no reason to climb the wall” and instead “to

just walk around.” Interview of Eric Barber, Tr. at 10: 22-25. Regarding the crowd,

he explained:

              And people started hollering and, you know, saying -- like they
      were negotiating with them [officers], you know, let us through. And I
      could -- I couldn't hear what the officers were saying, but every once in
      a while, someone like a point, like the alpha male look there, that were
      all geared out, they were hollering back, no violence. You know,
      if they're going to let us through, we have to, we have to be
      calm, stuff like that.
              And it seemed like everybody kind of settled down. And then at
      some point the officers moved out of the way, and they let the crowd go
      forward again. And then I think that's when it spilled out into the
      Rotunda. And alls I could see was people just like taking photos. And
      like everybody was taking selfies and, you know, trying go live and
      stuff like that. And still up to that point, I knew, obviously I was
      somewhere where I wasn't supposed to be. But I still didn't feel, all
      right, this is a full-on riot. You know, if I'd have been there
      earlier, if I'd have showed up earlier, and could have seen, you
      know, what was going on, on the steps where the barriers were



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         being breached and people were, you know, grabbing at police
         officers, maybe that would have been like oh, pump the brakes,
         this is ugly. It wasn't, it wasn't till I was really in there that I
         thought, oh this is bad.

Tr. at 12:18-25 – 13:1-17.

         Mr. Barber does not justify his conduct. He recognized that he was “where

[he] wasn’t supposed to be.” Tr. at 13:8-9. He explained to the FBI agents his

observations of the crowd. He was not in the front of the crowd, where there were

interactions with the police and the breach occurred. Throughout the interview

with the agents, Mr. Barber expressed regret and accepted responsibility for his

actions:

     •   I had a pretty significant lapse of judgment, then went ahead and, you
         know, went with the wave of bodies. 17

     •   Yeah, just, you know, kind of meandered around until, until I felt like this is,
         this is a bad scene. When I started seeing people like -- you know, thing --
         when I started observing things broken, you know -- yeah, so it was just a
         bad deal. ... Obviously I wish I would have stayed home that day. 18

     •   And about, about halfway through it is when I realized, this is, this is more
         serious than just some people being rowdy, at a protest. You know, a protest
         is one thing, but when I started seeing stuff that reminded me of the
         riots from the summer, people starting to be destructive, I mean, it's
         our Capitol. You know, you're supposed to hold something sacred, says the
         guy who went through and did (indiscernible) the building. 19

     •   And when I went outside, I went straight – just left, straight. Didn't stop,
         didn't chitchat with nobody. I didn't stop to take no more photos. Just said
         no, I shouldn't be here, and left. 20

     •   I mean, being there was bad enough. I'm not saying I took pride, … I was
         thankful after the fact that I didn't do the things that I saw being done there,
17
         Tr. at 11:11-13 (emphasis added).
18
         Tr. at 14:21-25 – 15:2-3 (emphasis added).
19
         Tr. at 15:18-25 (emphasis added).
20
         Tr. at 16: 7-10 (emphasis added).
                                                21
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         and … that I had a little bit better in me than -- obviously I wasn't
         supposed to be there. 21

     •   Q. No, and I appreciate the -- you've been completely honest with you -- with
         us, at every turn, and cooperative. That always plays to your favor. A. I
         understand. There's nothing I could do now. I can't lie about it. I can't
         deny it. I just have to own it, and accept the -—

     •   A. Right. And I even -- I mean, even after -- I'd say I did those media
         interviews with television and newspaper, probably a couple of
         hours after I left D.C., and I told them, you know, that what -- it
         wasn't, that wasn't good. Like we should be a little bit ashamed
         about what we did. And I'm not sure that that got printed. 22

     •   so many people in West Virginia that were friends of mine were all pumped
         up and like, we're going. It's going to be awesome, da, da, da, da, da. And
         everybody was taking the bus, which -- but I, you know, was thinking I was
         going to be super hard and go punch a Antifa terrorist in the face. And I
         ended up being the terrorist. Plot twist, huh? 23

     •   Q. At least you still keep your sense of humor about it. A. That's the
         only thing, because I'm so upset, I'm so, so like worried about how this
         day is going to turn out, and what's going to happen in the future.
         It's a coping mechanism. I'm not trying to take this lightly. I'm just
         trying to keep from, like -- DETECTIVE 1: Understood. MR. BARBER: --
         collapsing into – 24

     •   I was like oh, we're not heroes. We're not, we're not patriot protesters.
         We're no better than the, the rioters from Antifa. So, you know. 25

     •   And, you know, once you got there, I mean I probably could have stepped off
         to the side, or pumped the brakes, but the group that -- there was people
         pushing you from behind. Like there was a lot of -- Q. Momentum? A. Yeah.
         It's just weird. I'm not going to say, oh the crowd pushed me in the
         building, wasn't my fault. No, no. I reached up there and pulled
         myself in. 26



21
         Tr. at 21:18-25 (emphasis added).
22
         Tr. at 23:14-19 (emphasis added).
23
         Tr. at 28:6-28 (emphasis added).
24
         Tr. at 28:12-20 (emphasis added).
25
         Tr. at 30:5-7 (emphasis added).
26
         Tr. at 33:11-19 (emphasis added).
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     •   I mean, at some point I should invoke my constitutional privileges of,
         you know, right to non[-]incrimination. But I'm trying to be as
         honest and cooperative, just because it's, this is the way it should be.
         You know, and my lawyers are subject to be mad. 27

     •   You know, and part of me never been in the military, but coming from a
         strong military family, you know, I wanted a little bit of combat, you know --
         certainly not against my government. 28

     •   And, I mean, that's literally the smart way to go. But I'm trying to, to hold
         myself accountable, to be honest, to be forthcoming in saying, you
         know, I did something wrong, I'm ready to take responsibility, here's
         my side of the story. I mean, for all I know, I've said two or three things that
         could get me in more trouble. I don't know. 29

         Regardless of what led Mr. Barber to the Capitol, it is clear that he did not

engage in destructive or assaultive behavior inside the Capitol. Nonetheless, Mr.

Barber has admitted guilt and is remorseful for his conduct.

         II.    Mr. Barber’s History and Characteristics

         Eric Barber had an unstable childhood. His parents divorced during his teen

years and custody shifted between his mother and father. When his father

remarried, he lived with his stepmother who he described as “abusive and mean.”

She imposed corporal punishment and “beat him pretty bad” and the “more

aggressive abuse” came around 5th or 6th grade when he was 11 years old.

         At some point, he resided with his grandmother, when his parents no longer

wanted to raise him. When his grandmother could no longer care for him, he ended

up in the foster care system. His foster parents provided “no structure or




27
         Tr. at 40:14-18 (emphasis added).
28
         Tr. at 41:22-25 (emphasis added).
29
         Tr. at 49:20-25 (emphasis added).
                                             23
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discipline.” Instead, they provided alcohol to him and other underage teens in the

neighborhood.

        At 19 years old, he was expelled from school. He had been placed in the

behavior disorder program. At the age of 20, he was convicted of a felony and spent

approximately 5 years in prison. He obtained his GED in the penitentiary and

completed a semester of college.

        From 2017 to 2020, Mr. Barber served as a city council member in

Parkersburg, West Virginia. Prior to that, he was working as a construction worker

and was a new homeowner in what he described as a “very bad neighborhood.” He

contacted his city council member about the neighborhood and improvements that

were needed. His council member suggested that he should run for election to the

city council. During the House Select Committee interview, Mr. Barber explained

that he had been a life-long independent. The Democrats had not put anyone in the

primary and he came from a poor neighborhood and had a labor background that

endeared him to the voters in his area. In the end, he won the election by 6 votes.

        His term ended in 2020. He described how during former President Trump’s

term, national politics became local politics. The more Mr. Barber tweeted opinions

similar to Trumps, the more attention he received from conservative constituents.

He regrets mimicking himself after Trump. He removed himself from social media.

        During his city council term, he was employed as an HVAC technician and

lost his job as a result of January 6th. He was unemployed for six months until June

2021.



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      Mr. Barber is a father of two young daughters. He struggled with obtaining

employment to provide for his family after he was fired. He regrets the impact his

actions have had on his family – “You know, I just got my life where I wanted it.

You know, my daughter’s in school, got a nice home, a hobby. You know, now I

ruined it, potentially by, you know, doing something really stupid.” Tr. at 48:2-5.



      III.   A Probationary Sentence Would Reflect the Seriousness of the
             Offense, to Promote Respect for the Law, and to Provide Just
             Punishment for the Offense.

      18 U.S.C. § 3553(a)(2)(A) provides that the Court must assess “the need for

the sentence imposed— . . . to reflect the seriousness of the offense, to promote

respect for the law, and to provide just punishment for the offense.” Incarceration is

not required in order for a sentence to reflect the seriousness of the offense. “A

sentence of probation rather than incarceration can work to promote the sentencing

goal of respect for the law by illustrating a rejection of the view that the law is

merely a means to dispense harsh punishment without taking into account the real

conduct and circumstances involved in sentencing.” United States v. Bennett, No.

8:07CR235, 2008 U.S. Dist. LEXIS 45302, at *12 (D. Neb. May 30, 2008) (citing

Gall, 552 U.S. at 99).

      To determine a just punishment for Mr. Barber, the Court must consider the

conditions under which an individual will serve time if the Court decides to

incarcerate the individual. Since the beginning of the COVID-19 pandemic, the

virus spread rampantly in detention facilities. Thousands of BOP inmates have



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tested positive for COVID-19 and the latest BOP numbers show that 271 inmates

have died from COVID-19. 30 With the rise of COVID-19 variants, the risks of

contracting the virus and death remain a serious concern for inmates.


       IV.    A Probationary Sentence Would Provide Adequate Deterrence
              to Criminal Conduct and Protect the Public from the Unlikely
              Chance of Further Crimes of Mr. Barber.

       Under 18 U.S.C. § 3553(a)(2)(B) and (a)(2)(C), this Court must also consider

“the need for the sentence imposed—. . . to afford adequate deterrence to criminal

conduct...[and] to protect the public from further crimes of the defendant.” The

public has been protected while Mr. Barber has been on pretrial release. The public

will be protected while Mr. Barber is being supervised by the Probation Officer,

which will further deter any criminal conduct.

       While “[p]rison is an important option for incapacitating and punishing those

who commit crimes,” evidence suggests that lengthy prison sentences do not have a

“chastening” effect and “produce at best a very modest deterrent effect.” Five

Things About Deterrence, Nat’l Inst. Justice, U.S. Dep’t of Justice, 1-2 (May 2016).

With respect to specific deterrence, research shows conclusively that “[t]he certainty

of being caught is a vastly more powerful deterrent than the punishment,” that

“[s]ending an individual convicted of a crime to prison isn’t a very effective way to

deter crime,” and that “[i]ncreasing the severity of punishment does little to deter

crime.” Id. (emphasis in original); see also James Austin et al., How Many



30
  See Fed. Bureau of Prisons, COVID-19 Cases, https://www.bop.gov/coronavirus/ (last
accessed December 8, 2021).
                                             26
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Americans Are Unnecessarily Incarcerated?, Brennan Ctr. For Just., N.Y. Univ.

School of Law, 22 (2016) (quoting a 2011 study by criminologists concluding that

“across all offenders, prisons do not have a specific deterrent effect. Custodial

sentences [jail and prison] do not reduce recidivism more than noncustodial

sanctions.”). No incarceration is needed to deter criminal conduct in this case.

       V.     Sentence of Probation Would Not Create An Unwarranted
              Sentencing Disparity

      Sentencing Mr. Barber to probation would not contribute to an unwarranted

sentencing disparity. Approximately 171 defendants have been sentenced in these

cases. 31 Approximately 93% of the cases have been resolved as misdemeanor

offenses. Of the misdemeanors cases, approximately 62.5% have been sentenced to

probation or home detention as a condition of probation. January 6th defendants in

other cases who pled to the exact same federal charge received probationary

sentences. See United States v. Anna Morgan-Lloyd, Crim. No. 21-cr-00164

(sentenced to 36 months’ probation); United States v. Valerie Ehrke, Crim. No. 21-

cr-00097 (36 months’ probation); United States v. Danielle Doyle, Crim. No. 21-cr-

00324 (2 months’ probation); United States v. Eliel Rosa, Crim. No. 21-cr-00068 (12

months’ probation); United States v. Vinson, et al., Crim. No. 21-cr-0355 (5 years’

probation); United States v. Andrew Wrigley, Crim. No. 21-cr-42 (18 months’

probation).

      The government cites several cases to justify its requested sentence,

including the case of United States v. Adam Johnson, 21-cr-648 (RBW). See ECF


31
      This estimate is based on the government’s chart, filed at ECF No. 36-1.
                                             27
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No. 36, p. 25. Adam Johnson’s case and this case are very different. As noted in the

time line above, Adam Johnson not only took Nancy Pelosi’s lectern, he proudly

displayed the lectern and posed for pictures with it. By contrast, Mr. Barber did not

take memorabilia or take anything from members of Congress. Instead, he took a

charger because he was looking for a battery charger for his cell phone. He did not

boldly display that he stole a charger.

      The government also cites to United States v. Marie Spencer, 21-cr-00147-02

(CKK). See ECF No. 36, p. 25. Spencer “minimized her conduct to the FBI.” Id. To

quote the government in that case, Spencer “stated she and her family could not

turn around because the crowd was pushing them into the building, but this is

refuted by their voluntary stroll to the Senate Wing Door.” 21-cr-00147-02 (CKK),

Gov’t Sent. Memo, ECF No. 55, p. 13. Here, Mr. Barber did not minimize his

conduct to the FBI. He did not blame his conduct on anyone else but himself – “ I'm

not going to say, oh the crowd pushed me in the building, wasn't my fault.

No, no. I reached up there and pulled myself in.”      32



      As laid out in great detail above, he was not proud of his conduct and has

consistently disavowed his conduct on: (1) January 6th when he spoke to local media,

(2) almost two months later on March 3, 2021 when he spoke to the FBI without

counsel; and (3) on March 16, 2022, when he spoke with the House Select

Committee. His actions since January 6th have shown that he has accepted

responsibility and was and remains very remorseful.



32
      Tr. at 33:11-19 (emphasis added).
                                          28
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                                    Conclusion

      Considering the § 3553(a) sentencing factors, a probationary sentence with a

condition of home detention, and restitution in the amount of $500, is a sufficient,

but not greater than necessary, sentence to satisfy the purposes of sentencing.

                                        Respectfully submitted,

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